  AO 247 (02/08) OrderCase    6:04-cr-00010-JRH
                       Regarding Motion for Sentence ReductionDocument 301      Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District of Georgia

                                                                                                              29 ?H fQ; f7
                  United States of America                           )
                                 V.                                  )
                                                                     ) Case No: CR604-000I0-007
                        Archie Foxworth
                                                                     ) USMNo: 11993-021
Date of Previous Judgment: March 2, 2005                             ) William E. Callaway, Jr.
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of J the defendant               fl
                                                the Director of the Bureau of PriSons   the court under 18 U.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of           months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     23                                           Amended Offense Level:      21
Criminal History Category: I                                             Criminal History Category: I
Previous Guideline Range: 46                   to 57 months              Amended Guideline Range: 37 to 46                months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS
The Court has denied the motion for reduction of sentence based on factors identified in 18 U.S.C. § 3553(a), namely
the need to protect the public from further crimes of the defendant and the history and characteristics of the
defendant. The defendant's disciplinary record since being incarcerated is disturbing. It is obvious he has no respect
for the rules and laws of our society,


Except as provided above, all provisions of the judgment dated                March 2, 2005,        shall remain in effect.
IT IS SO ORDERED.

Order Date        May 29, 2008


                                                                         B. Avant Edenfield
                                                                         United States District Judge
Effective Date:                                                          For the Southern District of Georgia
                   (if difTerent from order date)                                         Printed name and title
